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  8                         UNITED STATES BANKRUPTCY COURT
                             CENTRAL DISTRICT OF CALIFORNIA
  9                                SANTA ANA DIVISION
 10
      In re:                                      Chapter 11
 11
      THE LITIGATION PRACTICE GROUP, P.C.,        Case No. 8:23-bk-10571-SC
 12
                  Debtor.                         LIMITED OBJECTION TO MOTION
 13                                               TO APPROVE COMPROMISE
                                                  BETWEEN TRUSTEE AND AZZURE
 14                                               CAPITAL LLC

 15                                               Hearing Date and Time

 16                                               Date: September 13, 2023

 17                                               Time: 1:30 p.m.

 18                                               Location: Courtroom 5C and Via ZoomGov

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  1           OHP-CDR, LP (“OHP-CDR”) and PurchaseCo80, LLC (“PurchaseCo”) file this limited

  2 objection (“Limited Objection”) to the Motion to Approve Compromise Between Trustee and Azzure

  3 Capital LLC [ECF 392] (“Motion”).1

  4 I.        INTRODUCTION

  5           OHP-CDR is a secured creditor and PurchaseCo owns a substantial number of the Debtor’s

  6 receivables. OHP-CDR and PurchaseCo do not generally object to the compromise (“Azzure

  7 Compromise”) between the chapter 11 trustee (“Trustee”) and Azzure Capital LLC (“Azzure”) set

  8 forth in the Motion. They object to the Motion only if and to the extent that the Trustee seeks to

  9 pay Azzure before resolution of OHP-CDR’s and PurchaseCo’s secured claims and interests or

 10 otherwise requests a determination of ownership of certain receivables.

 11 II.       BRIEF STATEMENT OF RELEVANT FACTS

 12           A.      LPG’s Business

 13           The Litigation Practice Group, P.C. (“LPG” or “Debtor”) is a law firm that prepetition

 14 provided consumer debt resolution. Amended Complaint ¶ 50. 2 LPG acquired clients through

 15 “marketing affiliates,” and in turn, “p[aid] the marketing affiliates a percentage of fees earned

 16 through the debt resolution process.” Id. ¶ 55. However, because “LPG and its marketing affiliates

 17 receive[d] only incremental payments over a period of time, LPG [and the marketing affiliates]

 18 would often sell the future cash flow at a discounted rate” to “factoring companies that b[ought] the

 19 receivables on account of these files.” Id. ¶¶ 57-58.

 20           B.      Ownership of the Receivables and the Lien

 21           OHP-CDR3 purchased a number of LPG’s and affiliates’ receivables through PurchaseCo.

 22 Pursuant to the September 1, 2022 Limited Liability Company Agreement of PurchaseCo80, LLC

 23 (“LLC Agreement”),4 OHP-CDR contributed the “OHP Funding Capital,” Agreement § 3.02, which

 24

 25   1
          All terms not defined herein have the meaning ascribed to them in the Motion.
 26   2
         “Amended Complaint” refers to the Amended Complaint filed by the Trustee on June 15, 2023
      in Marshack v. Diab et al., Adv. Pro. No. 8:23-ap-01046-SC, ECF 62.
 27
      3
          OHP-CDR was formerly known as OHP-LPG, LP. See Claim No. 44, Attachment ¶ 2.
 28   4
          The LLC Agreement is attached to OHP-CDR’s proof of claim. Claim No. 44.
                                                       -1-
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  1 was to be used to purchase both “Eligible Receivables,” id. § 7.02(e)(i), and “Assigned Eligible

  2 Receivables,” id. § 7.02(e)(ii). Included in those receivables were a number (corresponding to about

  3 10,201 files) acquired directly from LPG.

  4          In addition, OHP-CDR has a lien on substantially all of the Debtors’ assets. As set forth in

  5 the LLC Agreement, LPG granted OHP-CDR a first priority security interest in all of its personal

  6 property to secure repayment of the “OHP Funding Capital,” and OHP-CDR (then named OHP-

  7 LPG, LP) recorded a UCC-1 financing statement with the California Secretary of State. Ex. A

  8 (Claim No. 44, Attachment ¶ 15). The UCC-1 financing statement was recorded before Azzure’s

  9 purported loan to LPG. ECF 392 at 16 (reciting a February 7, 2023 loan from Azzure to LPG). As

 10 of the petition date, LPG owed OHP-CDR at least $16,538,954, including $9,538,954 in outstanding

 11 “OHP Funding Capital.” Id. ¶ 3.

 12          C.     Azzure’s Claim and the Azzure Compromise

 13          On July 24, 2023, Azzure filed a proof of claim, asserting a secured claim of no less than

 14 $5,000,000, based on a note dated February 7, 2023 (“Azzure Note”). Claim No. 127. The Azzure

 15 Note charged an interest rate of 170%, along with an origination fee of $50,000. ECF 392 at 26.

 16          The Azzure Note also provided for a security interest. Azzure, however, did not file a UCC-

 17 1 financing statement, and therefore, any lien is avoidable pursuant to 11 U.S.C. § 544(a). Instead,

 18 it appears that an entity called BAE Enterprises, Inc. “assigned” its UCC-1 financing statement from

 19 May 28, 2021 (“BAE Financing Statement”) to Azzure. ECF 392 at 96. The BAE Financing

 20 Statement appears to relate to an August 3, 2021 Cash Advance from Cobalt Funding Solutions to

 21 LPG. ECF 392 at 63. It appears that there was litigation between Cobalt Funding Solutions and

 22 LPG, and to resolve that litigation, the financing statement was transferred to BAE Enterprises, Inc.

 23 ECF 392 at 81. However, it does not appear that the underlying debt was transferred to BAE

 24 Enterprises, Inc. BAE Enterprises, Inc., on the same date as the Azzure Note, purported to transfer

 25 the BAE Financing Statement to Azzure. ECF 392 at 96.

 26          The Trustee filed the Motion on August 16, 2023. ECF 392. The Motion states that pursuant

 27 to the compromise, Azzure will have an allowed secured claim in the total amount $3.5 million,

 28 $1.9 million of which “shall be paid prior to the unsecured claims of all post-petition lenders that

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  1 received super-administrative priority status,” and $1.6 million of which shall be an unsecured

  2 claim. Motion at 5. The Settlement Agreement and Release (“Azzure Agreement”) further states

  3 that Azzure’s claim “is believed by the parties to be first-in-priority with respect to all of the

  4 Bankruptcy estate’s debts and liabilities.” ECF 392 at 17. The Motion does not state when the

  5 Trustee will pay Azzure the $1.9 million on account of the purported secured claim.

  6 III.     AZZURE SHOULD NOT RECEIVE PAYMENT UNTIL OHP-CDR’S AND
             PURCHASECO’S SECURED CLAIMS AND INTERESTS ARE RESOLVED
  7
             As noted above, OHP-CDR and PurchaseCo do not object to the proposed compromise in
  8
      principle. However, the Motion is unclear on two issues.
  9
             First, it does not appear that the Trustee is asking for a finding that Azzure’s purported
 10
      secured claim has priority over all other secured claims in this case. But the Azzure Agreement
 11
      contains a section that states “is believed by the parties to be first-in-priority with respect to all of
 12
      the Bankruptcy estate’s debts and liabilities.” For the reasons discussed above, OHP-CDR believes
 13
      that its secured claim has priority over Azzure’s. To the extent that the Trustee seeks such a finding,
 14
      it is inappropriate to do so here, because the Trustee only sought approval of a compromise between
 15
      himself and Azzure under Federal Rule of Bankruptcy Procedure 9019, and that compromise does
 16
      not include all of the other secured creditors in this case. Moreover, any proceeding to determine
 17
      the priority or validity of a lien must be brought as an adversary proceeding pursuant to Federal
 18
      Rule of Bankruptcy Procedure 7001(2). OHP-CDR reserves all of its rights to assert its first-priority
 19
      position.
 20
             Moreover, as discussed above, PurchaseCo owns a number of LPG’s receivables. The estate
 21
      does not own those receivables, and therefore cannot use those receivables to pay Azzure. Like
 22
      OHP-CDR’s secured claim, the Motion does not address ownership of the receivables, nor does it
 23
      request to use such receivables to pay Azzure. Moreover, to the extent that the Trustee disputes
 24
      PurchaseCo’s ownership of the receivables, such dispute must be resolved by adversary proceeding
 25
      pursuant to Federal Rule of Bankruptcy Procedure 7001(2). Therefore, to the extent the Trustee
 26
      seeks a finding that Azzure has priority over PurchaseCo’s ownership interests, the request should
 27
      be denied.
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  1          Second, the Trustee does not state in the Motion when he will pay Azzure $1.9 million on

  2 account of the compromised purported secured claim. OHP-CDR objects to any payment to Azzure

  3 before the earlier of confirmation of a plan or resolution of OHP-CDR’s and PurchaseCo’s secured

  4 claims and interests. OHP-CDR and PurchaseCo are currently in discussions with the Trustee to

  5 resolve the secured claims and interests. If those discussions do not result in an agreement, OHP-

  6 CDR and PurchaseCo are prepared to initiate an adversary proceeding to finally determine the

  7 validity and priority of the secured claims and interests described herein.

  8 IV.      CONCLUSION

  9          For the reasons above, OHP-CDR and PurchaseCo do not object to the Motion, except to

 10 the extent that it proposes to pay Azzure before OHP-CDR’s and PurchaseCo’s secured claims and

 11 interests are resolved.

 12 DATED: August 30, 2023                     Respectfully submitted,

 13

 14                                              By     /s/ Razmig Y. Izakelian____
                                                       Razmig Y. Izakelian
 15
                                                      Attorneys for OHP-CDR, LP and PurchaseCo 80,
 16                                                   LLC
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

865 S. Figueroa Street, 10th Floor, Los Angeles, CA 90017

A true and correct copy of the foregoing document entitled (specify): LIMITED OBJECTION TO MOTION TO
APPROVE COMPROMISE BETWEEN TRUSTEE AND AZZURE CAPITAL LLC

will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
August 30, 2023, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:




                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) _______________, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 8/30/23                        Razmig Y. Izakelian                                             /s/ Razmig Y. Izakelian
 Date                           Printed Name                                                    Signature




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